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Roadcloud v. Pennsylvania Bd. of Probation and Parole, Not Reported in F.Supp.2d...
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      KeyCite Yellow Flag - Negative Treatment
Distinguished by Russ-Tobias v. Pennsylvania Board of Probation and          MEMORANDUM AND ORDER
Parole, E.D.Pa., March 2, 2006
                 2006 WL 83453                                        KAUFFMAN, J.
            Only the Westlaw citation
              is currently available.                                  *1     Plaintiffs    Victoria      Roadcloud
           United States District Court,                              (“Roadcloud”), Henry Williams (“Williams”),
                E.D. Pennsylvania.                                    Carmen Clemente (“Clemente”), Martha
                                                                      Holman (“Holman”) and Dianne Drayton
        Victoria ROADCLOUD, et al.                                    (“Drayton”) (collectively, “Plaintiffs”) bring
                    v.
                                                                      this action for violations of      42 U.S.C. §
        PENNSYLVANIA BOARD OF
      PROBATION AND PAROLE, et al.                                    1983 (“    § 1983”) (Count One),      42 U.S.C.
                                                                      § 1981 (“        § 1981”) (Count Two), and
                        No. 05-3787.                                  Article I, § 26 of the Pennsylvania Constitution
                              |                                       (Count Six) 1 against Defendants Pennsylvania
                        Jan. 6, 2006.                                 Board of Probation and Parole (“the
Attorneys and Law Firms                                               Board”), Gary Scicchatano (“Scicchatano”),
                                                                      Maria Marcinko (“Marcinko”), Willie Jones
Robert J. Sugarman, Philadelphia, PA, for                             (“Jones”), Daniel Solla (“Solla”) and
Victoria Roadcloud, Henry Williams, Carmen                            Mark Weinstein (“Weinstein”) (collectively
Clemente, Martha Holman and Dionne                                    “Defendants”). 2 Now before the Court are
Drayton.                                                              three Motions to Dismiss: (1) by the Board,
                                                                      (2) by Scicchatano, Marcinko, Jones and
Randall J. Henzes, Kevin R. Bradford, Office                          Weinstein, and (3) by Solla. For the reasons that
of the Attorney General, Philadelphia, PA, for                        follow the Motions will be granted.
Pennsylvania Board of Probation & Parole,
Gary Scicchatano, Maria Marcinko, Willie
Jones and Mark Weinstein.                                             I. BACKGROUND
                                                                      Accepting for purposes of the Motions to
Jodeen M. Hobbs, Miller, Alfano & Raspani,                            Dismiss the truth of the allegations in
P.C., Philadelphia, PA, for Pennsylvania Board                        the Complaint, the relevant facts are as
of Probation & Parole, Gary Scicchatano,                              follows. Plaintiffs are current and former
Maria Marcinko, Willie Jones, Mark Weinstein                          employees of the Board and are all either
and Daniel Solla.                                                     African-American or Hispanic. Complaint
                                                                      ¶ 12. The Board is an agency of the
Gino J. Benedetti, Joshua E. Scarpello, Miller
                                                                      Commonwealth of Pennsylvania. Defendants
Alfano & Raspanti PC, Philadelphia, PA, for
                                                                      Scicchatano, Marcinko, Jones, Weinstein and
Daniel Solla.
                                                                      Solla hold various managerial/supervisory
                                                                      positions with the Board. Id. ¶¶ 7-11. The

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gravamen of the Complaint is that beginning in                       sue, be parties, give evidence,
1998, Defendants engaged in a pattern of racial                      and to the full and equal benefit
discrimination against Plaintiffs, including                         of all laws and proceedings
disparate treatment, retaliation, and the creation                   for the security of persons
of “a sham investigative group entitled ‘Office                      and property as is enjoyed
of Professional Responsibility.” ’ See Id. ¶¶                        by white citizens, and shall
13-26.                                                               be subject to like punishment,
                                                                     pains, penalties, taxes, licenses,
                                                                     and exactions of every kind,
II. LEGAL STANDARD                                                   and no other.
When deciding a motion to dismiss pursuant
to Federal Rule of Civil Procedure 12(b)(6),
the Court may look only to the facts alleged
in the complaint and its attachments. Jordan                  42 U.S.C. § 1981. Defendants are not at this
v. Fox. Rothschild, O'Brien & Frankel, 20                  stage of the proceeding challenging whether
F.3d 1250, 1261 (3d Cir.1994). The Court                   the conduct Plaintiffs have alleged constitutes
must accept as true all well-pleaded allegations
                                                           a violation of § 1981; rather, their contention
in the complaint and view them in the light
                                                           is that there is no private right of action under
most favorable to the plaintiff. Angelastro v.
                                                              § 1981. They base their argument mainly on
Prudential-Bache Sec., Inc., 764 F.2d 939, 944
(3d Cir.1985). A Rule 12(b)(6) motion will be                Jett v. Dallas Independent School District,
granted only when it is certain that no relief             491 U.S. 701, 109 S.Ct. 2702, 105 L.Ed.2d 598
could be granted under any set of facts that               (1989).

could be proved by the plaintiff. Ransom v.
                                                            *2 The plaintiff in Jett, like Plaintiffs here,
Marrazzo, 848 F.2d 398, 401 (3d Cir.1988).
                                                           asserted a claim under       § 1981. Recognizing
                                                           that the language of § 1981 does not establish
III. ANALYSIS                                              a cause of action, the plaintiff in Jett argued that
                                                           the Supreme Court should “create or imply”
  A. The        § 1981 claims                              one. The Court declined on the grounds that
Plaintiffs have brought claims under           § 1981      doing so would contravene Congress' intention
against all Defendants.           Section 1981, as         that “the explicit remedial provisions of §
amended, provides that:                                    1983 be controlling in the context of damages
                                                           actions brought against state actors alleging
         All persons within the                            violations of the rights declared in     § 1981.” 3
         jurisdiction of the United States                   Jett, 491 U.S. at 731. Accordingly, the Court
         shall have the same right in                      held “that the express ‘action at law’ provided
         every State and Territory to                      by § 1983 ... provides the exclusive federal
         make and enforce contracts, to                    damages remedy for the violation of the rights


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guaranteed by         § 1981 when the claim is             intent. Plaintiffs would thus read Jett as holding
pressed against a state actor.”       Id. at 736.          that there is no cause of action under    § 1981
                                                           against defendants subject to a § 1983 suit.
Defendants read Jett to require the dismissal of           Where, however, the entity alleged to have
Plaintiffs' § 1981 claims. Plaintiffs offer two            violated rights protected under     § 1981 is not
arguments to the contrary:                                 susceptible to suit under     § 1983, a cause of
                                                           action under       § 1981 should be implied.

  1. The      § 1981 Claim against the Board
                                                           This reading of Jett does not survive scrutiny.
Plaintiffs seek to salvage their § 1981 claim              First, the language the Court employed
against the Board with a narrow reading of                 suggests that its holding was meant to reach
Jett: that the Court's holding was limited to              state governments, not merely individuals
defendants who could be reached by § 1983.                 acting under color of state law. Jett, 491
Essentially, Plaintiff's argument is that Jett is          U.S. at 733 (“[T]he express cause of action
distinguishable from the facts in this case.
                                                           for damages created by § 1983 constitutes
The defendants in Jett, a school district and a
                                                           the exclusive federal remedy for violation of
school principle, were indisputably subject to
                                                           the rights guaranteed in     § 1981 by state
suit under § 1983. See Monell v. New York
                                                           governmental units [.]”) (emphasis added).
City Dept. Of Social Services, 436 U.S. 658, 98
S.Ct. 2018, 56 L.Ed.2d 611 (1978). In contrast,
                                                           Second, the principle behind the Jett decision
the Board, as a state agency, is not. Will v.              is deference to Congressional intent: Congress
Michigan Dep't. of State Police, 491 U.S. 58,
                                                           created      § 1983 as a remedy for violations
109 S.Ct. 2304, 105 L.Ed.2d 45 (1989).
                                                           of § 1981 and the Jett Court was guided
That distinction matters, Plaintiffs argue,                by the need to avoid implying a cause of
because the Jett Court's holding was premised              action that would replace or alter that remedy.
                                                           Thus, in assessing Plaintiffs' argument that Jett
on the availability of a remedy under    §
                                                           does not preclude the implication of a cause
1983. The Court declined to imply a remedy
                                                           of action against state governments under §
under      § 1981 out of deference to Congress'
                                                           1981, the central consideration is whether such
intention that     § 1983 serve as the remedy for          a cause of action would be consistent with
violations of § 1981. That logic, Plaintiffs               Congressional intent. Plaintiffs' argument that a
argue, applies only so long as the defendants              cause of action under § 1981 may be implied
in question are susceptible to suit under §                assumes that Congress was indifferent to the
1983. Where, as in this case, the defendant is             liability of state governments when it adopted
not subject to suit under § 1983, there should                § 1983.
be no bar to implying a cause of action, since
doing so would not undermine Congressional


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 *3 That is an erroneous assumption. In                    both among the circuits and courts in this
addition to deciding who would be liable under             district. The Third Circuit has not yet ruled
  § 1983, Congress also decided who would                  on this issue. 5 However, this Court has held
not. Thus, when it enacted § 1983, Congress                that the 1991 Amendments did not overrule
made the deliberate choice to exclude state                Jett, and that      § 1983 remains the exclusive
governments and their agencies from liability.             remedy for violations of § 1981 by a state
  Will, 491 U.S. at 66. To the extent that                 actor. See Carlton v. City of Philadelphia, 2004
Congress understood           § 1983 as a means            WL 633279, at *5 (E.D.Pa. Mar.30, 2004)
of enforcing       § 1981, implying a cause of             (Kauffman, J.). Accordingly, Plaintiffs'        §
action under § 1981, as Plaintiffs urge, would             1981 claims will be merged with their      § 1983
be tantamount to ignoring that Congressional               claims.
choice. That is something this Court must not
do. Jett, 491 U.S. at 732 (“[W]hatever the
                                                             B. The § 1983 Claims
limits of the judicial power to imply or create
                                                           Plaintiffs concede that in light of Will, their
remedies, it has long been the law that such
power should not be exercised in the face of                  § 1983 claim against the Board must be
an express decision by Congress concerning                 dismissed. See        Will, 491 U.S. 58, 109 S.Ct.
the scope of remedies available under a                    2304, 105 L.Ed.2d 45 (holding that § 1983
particular statute.”). Neither the language nor            does not provide a cause of action against state
the reasoning in Jett supports Plaintiffs' narrow          governments and their agencies).
reading. Accordingly, the Court concludes that
Plaintiffs lack a cause of action against the              Plaintiffs also concede that only Plaintiffs
         4
Board.                                                     Clemente and Drayton have § 1983 claims
                                                           against Solla. See Brief in Opposition to Motion
                                                           to Dismiss at 14. The § 1983 claims against
   2. The § 1981 Claims against the
                                                           Solla by Plaintiffs Roadcloud, Holman, and
   Individual Defendants
                                                           Williams will therefore also be dismissed.
Plaintiffs concede that Jett does apply to
the individual defendants because they are
                                                           Finally, Scicchatano, Marcinko, Jones and
subject to suit under § 1983. They argue,
                                                           Weinstein argue that Williams' § 1983 claim
however, that Jett has now been overruled by
                                                           against them is barred by the applicable statute
the 1991 amendments to the Civil Rights Act
                                                           of limitations. The statute of limitations period
(the “1991 Amendments”), which, Plaintiffs
                                                           governing a    § 1983 claim is determined
contend, created a cause of action under              §
                                                           by reference to the limitations period for a
1981.
                                                           personal injury action in the forum state.

Courts are divided as to the effect of the 1991              Wilson v. Garcia, 471 U.S. 261, 276-80,
Amendments. At present, there is a conflict                105 S.Ct. 1938, 85 L.Ed.2d 254 (1985).


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Accordingly, in this case, the applicable statute          law); Robinson v. Ridge, 996 F.Supp. 447, 449
of limitations period is two years. See             42     (E.D.Pa.1997). 7 Accordingly, the Court finds
Pa. Cons.Stat. § 5524; Garving v. City of                  that Defendants are immune from Plaintiffs'
Philadelphia, 354 F.3d 215, 220 (3d Cir.2003).             equal protection claims.

*4 The two-year statute of limitations for
                                                           IV. CONCLUSION
Williams' claim, which alleges constructive
                                                           For the foregoing reasons, Count Two will be
discharge, began to run in 1998, when he
                                                           merged into Count One. Count One will be
left employment at the Board. See Genty v.                 dismissed with prejudice as to the Board. The
Resolution Trust Corp., 937 F.2d 899, 919 (3d
                                                             § 1983 claims by Roadcloud and Holman
Cir.1991) (holding that a § 1983 cause of                  against Solla in Count One will be dismissed
action accrues on the date when a plaintiff knew
                                                           without prejudice and the       § 1983 claims
or should have known his or her rights had
                                                           by Williams will be dismissed with prejudice.
been violated). However, Williams did not file
                                                           Finally, Count Six will be dismissed with
the present action until May 2005, well after
                                                           prejudice as to all Defendants. An appropriate
the two year period had expired. His § 1983                Order follows.
claims are therefore time-barred and will be
dismissed. 6

                                                                                  ORDER
  C. The Pennsylvania Equal Protection
  Claim                                                    AND NOW, this 6 th day of January, 2006,
Defendants contend that sovereign immunity                 upon consideration of Defendants' Motions
protects them from Plaintiffs' Equal Protection            to Dismiss the Amended Complaint (docket
Claim under the Pennsylvania Constitution.                 nos. 4, 5, and 6), and for the reasons stated
   1 Pa., Cons.Stat. § 2310 and        42 Pa.              in the accompanying Memorandum, it is
Cons.Stat. § 8521 together grant immunity                  ORDERED that the Motions are GRANTED.
to “the Commonwealth, and its officials and                It is FURTHER ORDERED that:
employees acting within the scope of their                 (1) Count Two is MERGED into Count One;
duties[.]” That immunity has been found to
apply equally to claims like Plaintiffs' based             (2) Count One is DISMISSED WITH
on violations of the Pennsylvania Constitution.            PREJUDICE as to the Pennsylvania Board of
See Faust v. Commonwealth of Pennsylvania,                 Probation and Parole;
140 Pa.Cmwlth. 389, 592 A.2d 835, 839-40
(Pa.Commw.Ct.1991); L.H. v. Evanko, 2001                   (3) The claims of Plaintiffs Victoria Roadcloud
WL 605214, at *4 (E.D.Pa. May 5, 2001)                     and Martha Holman under Count One against
(holding that sovereign immunity statutes bar              Defendant Daniel Solla are DISMISSED
claims based on Pennsylvania constitutional                WITHOUT PREJUDICE;
violations absent waiver under Pennsylvania


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(4) The claims of Plaintiff Henry Williams
under Count One are DISMISSED WITH
PREJUDICE;
                                                           All Citations
(5)   Count     Six     is    DISMISSED         WITH       Not Reported in F.Supp.2d, 2006 WL 83453
                8
PREJUDICE.



                                                  Footnotes

1     The Complaint omits Counts Three, Four, and Five.
2     The Complaint is silent as to whether Plaintiffs are suing Scicchatano, Marcinko,
      Jones, Solla, Weinstein in their individual or official capacities. For the purpose of
      this opinion, the Court will assume Plaintiffs intended the former. In any event, claims
      against the individual defendants in their official capacities would be governed by
      the Court's analysis of Plaintiffs' claims against the Board.
3        42 U.S.C. § 1983 provides in pertinent part:
      Every person who, under color of any statute, ordinance, regulation, custom, or
      usage, of any State or Territory or the District of Columbia, subjects, or causes to
      be subjected, any citizen of the United States or other person within the jurisdiction
      thereof to the deprivation of any rights, privileges, or immunities secured by the
      Constitution and laws, shall be liable to the party injured in an action at law, suit
      in equity, or other proper proceeding for redress, except that in any action brought
      against a judicial officer for an act or omission taken in such officer's judicial capacity,
      injunctive relief shall not be granted unless a declaratory decree was violated or
      declaratory relief was unavailable. For the purposes of this section, any Act of
      Congress applicable exclusively to the District of Columbia shall be considered to
      be a statute of the District of Columbia.
4     The same analysis would apply to any § 1981 claims Plaintiffs are asserting
      against the individual defendants in their official capacities.
5     The Ninth Circuit has held that the 1991 Amendments create an implied right
      of action against state actors under § 1981. Federation of African American
      Contractors v. City of Oakland, 96 F.3d 1204, 1214 (9th Cir.1996). The Fourth
      and Eleventh Circuits have held that                  § 1983 remains the exclusive remedy for
      violations of          § 1981 by state actors.            Dennis v. County of Fairfax, 55 F.3d
      151, 156 (4th Cir.1995);             Johnson v. City of Fort Lauderdale, 903 F.Supp. 1520
      (S.D.Fla.1995), aff'd           114 F.3d 1089 (11th Cir.1997). District courts within the
      Eastern District of Pennsylvania are divided on this issue. See                 Poli v. SEPTA,

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      1998 WL 405052, at *12 (E.D.Pa. July 7, 1998) (following the holding in Jett that
        § 1983 is the exclusive remedy for violations of § 1981); Watkins v. Penn. Bd.
      of Probation and Parole, 2002 U.S. Dist. LEXIS 23504 (E.D.Pa. Nov. 25, 2002)
      (adopting the Ninth Circuit's view that there is a private right of action under §
      1981).
6     Williams argues that the statute of limitations should be tolled under 42 Pa.
      Cons.Stat. § 5103(b). However, that provision applies only to a state-law cause
      of action that a federal court has declined to hear under the doctrine of pendant
      jurisdiction, which is manifestly not the case here. See Commonwealth v. Lambert,
      765 A.2d 306 (Pa.Super.Ct.2000).
7     Plaintiffs contend that the Pennsylvania sovereign immunity statute does not
      apply to their constitutional claim, in support of which they cite Jones v. City of
      Philadelphia, 68 Pa. D. & C. 4th 47 (2004). However, Jones deals with the sovereign
      immunity of Pennsylvania municipalities under 42 Pa. Cons.Stat. § 8541. At issue
      here is the Commonwealth's sovereign immunity, which is governed by a different
      provision, 42 Pa. Cons.Stat. § 8521. The analysis in Jones is therefore inapposite.
8     The Complaint omits Counts Three, Four, and Five

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Patterson v. PA Office of Inspector General, 243 Fed.Appx. 695 (2007)




             243 Fed.Appx. 695                               The Court of Appeals held that Eleventh
       This case was not selected for                        Amendment barred suit in federal court by
    publication in the Federal Reporter.                     employee against OIG for alleged violations of
Not for Publication in West's Federal                        PHRA.
Reporter.
   See Fed. Rule of Appellate Procedure
    32.1 generally governing citation of                     Affirmed.
 judicial decisions issued on or after Jan.
1, 2007. See also Third Circuit LAR, App.                    Procedural Posture(s): On Appeal; Motion to
  I, IOP 5.7. (Find CTA3 App. I, IOP 5.7)                    Dismiss.
      United States Court of Appeals,
                Third Circuit.                               *695 On Appeal From the United States
                                                             District Court For the Middle District of
    Stacy Ann PATTERSON, Appellant                           Pennsylvania (D.C.Civ. No. 05–cv–02549),
                  v.                                         Magistrate Judge: Honorable Malachy E.
             PA OFFICE OF                                    Mannion.
         INSPECTOR GENERAL.
                                                             Attorneys and Law Firms
               No. 06–4233.
                      |                                      Stacy Ann Patterson, Enola, PA, pro se.
        Submitted Under Third Circuit
                                                             Calvin R. Koons, Office of Attorney General of
          LAR 34.1(a) April 2, 2007.
                                                             Pennsylvania Strawberry Square, Harrisburg,
                      |
                                                             PA, for PA Office of Inspector General.
            Filed June 15, 2007.
                                                             BEFORE: BARRY, CHAGARES and ROTH,
Synopsis
                                                             Circuit Judges.
Background: State government employee
filed action alleging Pennsylvania Office of
Inspector General (OIG) discriminated against
her in violation of the Pennsylvania Human                                    OPINION
Relations Act (PHRA). The United States
District Court for the Middle District of                    PER CURIAM.
Pennsylvania, 2006 WL 2460878, Malachy
                                                              **1 Appellant Stacy Ann Patterson filed
E. Mannion, United States Magistrate Judge,
                                                             a civil complaint in United States District
granted employer's motion to dismiss.
                                                             Court for the Middle District of Pennsylvania
Employee appealed.
                                                             in which she claimed that her employer,
                                                             the Pennsylvania Office of Inspector General
                                                             (“OIG”), discriminated against her, by denying
                                                             her training, in violation of the Pennsylvania


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Human Relations Act (“PHRA”), 43 Pa.                         violating the state Human Relations Act
Cons.Stat. Ann. §§ 951–963. Patterson was                    was barred by the Eleventh Amendment. 1
hired on January 18, 2000 as an Information                  Patterson appeals.
Technology Technician. Because the original
filing did not state a basis for federal                      We will affirm. We have appellate jurisdiction
jurisdiction, the OIG filed a motion for a                   pursuant to 28 U.S.C. § 1291. Our standard of
more definite statement, asking Patterson to
                                                             review is plenary. See Gould Elec., Inc. v.
clarify whether her claim of discrimination
                                                             United States, 220 F.3d 169, 176 (3d Cir.2000).
was brought under          42 U.S.C. § 1983, Title           The Eleventh Amendment precludes suits
VII of the Civil Rights Act, 42 U.S.C. §§                    against a state in federal court by citizens of that
2000e–2000e–17, the PHRA, Title I of the                     state or other states. Pennhurst State Sch. &
Americans with Disabilities Act, 42 U.S.C. § §               Hosp. v. Halderman, 465 U.S. 89, 98, 104 S.Ct.
12101 et seq., or some other law.                            900, 79 L.Ed.2d 67 (1984). A state may consent
                                                             to a suit against it in federal court and thereby
The motion was granted and Patterson was                     waive its immunity, but Pennsylvania has not
directed to file an amended complaint. *696                  done so, having specifically withheld consent,
She then filed an item consisting of 196
                                                               42 Pa. Cons.Stat. Ann. § 8521(b). Therefore,
numbered paragraphs, App. 33–51, which we
                                                             Patterson's suit against the OIG under the state
will refer to as the amended complaint, in which
                                                             Human Relations Act may only be brought in
she indicated at ¶¶ 186–88 and 191 that she was
discriminated against in violation of § 5 of the             state court. See Mansfield State College v.
Pennsylvania Human Relations Act on account                  Kovich, 46 Pa.Cmwlth. 399, 407 A.2d 1387,
of her perceived disabilities of Hydrocephalus,              1388 (1979).
Epilepsy, and Post–Concussion Syndrome.
At ¶¶ 121–23, Patterson described a sexual                    Patterson has argued in her brief on appeal
relationship with her supervisor, and at ¶ 136,              that Congress abrogated the states' Eleventh
she stated that he had threatened to discipline              Amendment immunity in passing Title VII of
her for unsatisfactory performance, but there                the Civil Rights Act, and that the Magistrate
was no mention of Title VII itself.                          Judge should have allowed her to amend
                                                             her complaint to “more fully explain the
The OIG moved to dismiss the amended                         discriminatory pattern due to her gender and
complaint on the basis of the Eleventh                       perceived disability.” (Appellant's Brief, at 25.)
Amendment, a motion which Patterson                          However, a suit under Title I of the Americans
opposed in writing. Her written opposition                   with Disabilities Act would also have been
did not, however, address the OIG's immunity                 barred by the Eleventh Amendment. See Bd.
argument. In an order entered on August                      of Trustees of the Univ. of Ala. v. Garrett, 531
23, 2006, 2006 WL 2460878, the Magistrate                    U.S. 356, 360, 121 S.Ct. 955, 148 L.Ed.2d
Judge dismissed the amended complaint under                  866 (2001). In addition, although it is true
Federal Rule of Civil Procedure 12(b)(6),                    that Congress abrogated the states' Eleventh
reasoning that a suit against the OIG for                    Amendment immunity in passing Title VII,


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                                                              U.S.C. § 2000e–2(a)(1), based on an incident
see    Fitzpatrick v. Bitzer, 427 U.S. 445,
                                                              or incidents of sexual harassment.
456, 96 S.Ct. 2666, 49 L.Ed.2d 614 (1976),
Patterson was not prevented from amending
                                                              **2 We will affirm the order of the District
her complaint as of right under Federal Rule
                                                              Court dismissing the amended complaint.
of Civil Procedure 15(a) (“A party may amend
the party's pleading once as a matter of course
at any time before a responsive pleading is                   All Citations
served.”), in response to the OIG's motion to
dismiss if it was in fact her intention to pursue a           243 Fed.Appx. 695, 2007 WL 1720833
Title VII claim for gender discrimination,           42



                                                   Footnotes

1      The parties consented to proceed before a Magistrate Judge,                               28 U.S.C. § 636(c)
       (1).

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